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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

PATRICIA SCHWALENBERG, )
PERSONAL REPRESENTATIVE OF )
TI-IE ESTATE OF KELLY KOMPKOFF)
' )

Plaintiff, )
v, ) Case No.: 3:07-0V-

LAURINDA VLASOFF, AND TI-IE
INDIAN HEALTH SERVICES,

Defendants.

 

MT_
COMES NOW, Patricia Schwalenberg as Personal Representative of the Estate of
Kelly Kompkoff, by and through counsel, and for her complaint, states and alleges as

follows:
1. Patrieia Schwalenberg is the duly appointed personal representative of the

Estate of Kelly Kompkoff and is a resident of the Municipalit'y of Anchorage, State of

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Alaska, located in the District of Alaska. Letters of Testamentary are attached hereto.

2. Kelly Kompkoff Was a resident of Tatitlek, State of Alaska at the times material
hereto, and is an Alasl<an Native eligible for medical treatment through the Indian Health
Service.

3. Laurinda Vlasoff, at times material hereto, Was the Community Health Aid in
Tatitlel<, Alaska employed by the Indian Health Service through the Alaska Native Tribal
Health Consortium (“ANTHC”).

JURISDICTION AND VENUE

4. This court has jurisdiction over this matter pursuant to 28 U.S.C. Section 1331
in that this matter arises under the Federal Tort Claims Act, 28 U.S.C. Section 2671, et
seq. Plaintiff has previously sought administrative adjustment of her claims pursuant to
28 U.S.C. Section 2672, as against the Indian Health Services and the agency thereof has
not acted upon the claims Within six months of filing said claims. Venue is proper in this
court pursuant to 28 U.S.C. Section 139l(b).

FACTS COMMON TO ALL COUNTS

5. Plaintiff states and re-alleges the allegations contained in 111 through 1[4 as
though fully set forth herein.

6. On the evening of OCtober 21, 2006, Kelly Ann Kompkoff Was stabbed several
times, including a stab Wound to the chest, by her husband Matthew Kornpkoff. After the
assault, the Tatitlek Clinic Was contacted, but the health aid, Laurinda Vlasoff, declined
to see Ms. Kompkoff. However Ms. Kompkoff’ s family took her to the clinic.

7. Upon Kelly Ann Kompl<off arriving at the Tatitlek Clinic, Laurinda Vlasoff

COMPLAINT 2

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examined her but did not, or failed to record, contact with Alaska Native Medical Center
(“ANMC”) regarding an assessment of Ms. Kompkoff. Laurinda Vlasoff arranged for
boat transport to Valdez but did not inquire about or arrange transport by aircraft to
Anchorage where Ms. Kompkoff could be treated by a thorasaic surgeon After arriving
at the Valdez Hospital a medivac flight was then arranged to Anchorage.

8. Kelly Kompkoff died in Valdez Alaska on October 22, 2006 while being
transported to the plane that would transport her to Anchorage and a hospital with a
thorasaic surgeon Kelly Kompkoff is survived by her two children: Kristopher Carroll
Kompkoff (dob 9/30/1997) and Isaiah P. Kompkoff (dob 12/11/2000).

FIRST CAUSE OF ACTION (NEGLIGENCE)

9. Plaintiff states and re-alleges the allegations contained in paragraphs l through
8 as though fully set forth herein.

10. Laurinda Vlasoff owed a duty to Kelly Kompkoff to timely respond, assess
and diagnose her medical condition, follow protocol as set out in the Alaska Community
Health Aide/Practitioner Manual (“CHAM”) and arrange for transport to a facility that
was able to treat her condition

ll. Laurinda Vlasoff failed to assess and diagnose Ms. Kompkoff’s condition,
failed to follow protocol and failed to evacuate Ms. Kompkoff to a facility that could treat
her condition and thereby breached her duties owed to l\/.[s. Kompl<off.

12. As a direct and proximate cause of Laurinda Vlasoff breach of duty to Ms.
Kompkoff, Ms. Kompkoff suffered great pain, both physical and mental, prior to her
death and upon her death, her children have lost their mother and provider of support

COMPLAINT . 3
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both economically and non-economically

13. Laurinda Vlasoff individually and her employer, Indian Health Service,
pursuant to the doctrine of respondeat superior, are liable to the Estate of Kelly
Kompkoff for damages in an amount to be established at trial herein.

SECOND CAUSE OF ACTION (NEGLIGENCE PER SE)

14. Plaintiff states and re-alleges the allegations contained in paragraphs 1
through 13 as though fully set forth herein.

15. Laurinda Vlasoff, as health aide in the Tatitlek Clinic, was required to
follow protocol found in CHAM and other proscribed procedures in treatment of patients

16. Laurinda Vlasoff failed to comply with the CHAM protocol and other
proscribed procedures that are meant to protect the patients, including Kelly Kompkoff,
from injury.

17. Kelly Kompkoff, as a patient seeking assistance for a stab wound, was part
of the class of people protected by the CHAM protocol and other regulations, and was
intended to be protected by the protocol and regulations

18. As a foreseeable, direct and proximate result of Laurinda Vlasoff’s failure
to comply with the CHAM protocol and other regulations, Kelly Kompkoff suffered
greatly and died on October 22, 2006.

19. Defendants are liable to Plaintiff, individually and pursuant to the doctrine
of respondeat superior for the pain and suffering and death of Kelly Kompkoff in an
amount as will be established upon the evidence at trial herein.

COMPLAINT 4
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THIRD CAUSE ()F ACTION (SPOLIATION)

20. Plaintiff states and re-alleges the allegations contained in paragraphs 1
through 19 as though fully set forth herein

21. Laurinda Vlasoff and Indian Health Service had a duty to complete, process
and maintain all medical records in the treatment of Kelly Kompkoff on October 21-22,
`2`006.

22. Laurinda Vlasoff and the Indian Health Service failed to complete, process
and maintain all medical records in the treatment of Kelly Kompkoff on October 21-22,
2006 and breached their duties to Kelly Kompl<off.

23. Defendants are liable to Plaintiff for their failure to complete, process and
maintain all medical records in the treatment of Kelly Kompkoff on October 21-22, 2006.

WHEREFORE, Plaintiff prays for relief as follows:

l. 7 For a money judgment against the defendants and each of them in an
amount to be established upon the evidence at trial herein for the prolonged pain,
suffering and then death of Kelly Kompkoff and the loss to her children of their mother

and provider.

2. For Plaintift`s costs, interests and attorney’s fees;

3. For such other and further relief as the court deems just and equitable in the
premises
COMPLAINT j 5

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Respectfully submitted this 19th day of October, 2009 at Anchorage, Alasl<a.

FORTIER & MIKKO, P.C.
Attorneys for Plaintiff

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